\}\\ Case 2:04-cr-20163-.]P|\/|_-.tmp Document 83 Filed 05/23/05 -~P.age 1 of 4 Page|D 108

 

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IN THE UNITED STATES DISTRICT COURT . `_ _
35 l sit f 23 PHQR THE WESTERN DISTRICT OF TENNESSEE AT MEMPH_IS _ (_ n
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vs. No./\An©Lf' 3`0(§@:§ "/”`§

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DEFENDANT Q' / \n . 13ng

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MOTION FOR SETTING OF REASONABLE BAIL

Comes now the Defendant, Tab Virgil, by and through his counsel of record,

Javier Michael Bailey, and for action moves this honorable court to set bail pursuant to

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the B‘h Amendrnent of the United States Constitution and the Bail Refonn Act, 18 USC

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3142. ln support thereof, the movant Defendant Would show this honorable court the

following:

l. That the Defendant has been incarcerated for over 15 months on both state and

federal charges arising from the same alleged event.

That the State of Tennessee set bail at $l 50,000 after an extended probable cause

hearing

That Defendant has sufficient minimum contacts Within this community and the`f"'

Western District of Tennessee to mitigate against the risk of flight; including but

not limited to a residence in Memphis, Tennessee.

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4. That the Defendant is a nationally known entertainer and the matter before the
court has received national media attention, thereby further reducing the risk of
flight

5. That there is no indication that the offense charged would be a continuing
offense.

6, That the Defendant is presumed innocent pursuant to the United States
Constitution, and has a right as a matter of law to reasonable bail, with
appropriate conditions.

7. That pretrial incarceration has substantially hindered the Defendant’s ability to
assist in his defense, and to carry out his livelihood

8. That the Defendant maintains his innocence and intends to stand trial on the
charges as indicted.

9. The Defendant is not a danger to the community

Respectfully Submitted,
THE WAL'I`E BAILEY LAW FIRM, LLP

 

 

av' r M. BM

10 North Main Street, Suite 3002
M phis, TN 38103
(9 1)575-8702

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CERTIFICATE OF SERVICE

l, Javier M. Bailey, do hereby certify that a copy of the foregoing document has
been served upon the following via U. S. Mail, postage prepaid, to the United States
Attomey General, this the day of , 2005:

 

 

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This notice confirms a copy of the document docketed as number 83 in
case 2:04-CR-20163 was distributed by faX, mail, or direct printing on
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Terrell L. Harris

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Honorable J on McCalla
US DISTRICT COURT

